Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 1 of 10




                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OKLAHOMA

      (1) FRANCISCO DIAZ, (2) VICENTE
      GONZALEZ and (3) PAUL MARTIN,                                  DOCKET NO. 4:19-cv-00668-JED-
      individually and on behalf of all others similarly             FHM
      situated,
                                                                     JURY TRIAL DEMANDED
      vs.
                                                                     COLLECTIVE ACTION PURSUANT
      (1) CYPRESS ENERGY MANAGEMENT                                  TO 29 U.S.C. § 216(b)
      TIR, LLC and (2) TULSA INSPECTION
      RESOURCES, LLC.


                           ORIGINAL COLLECTIVE ACTION COMPLAINT

                                                      I.       SUMMARY

            1.      Plaintiffs Francisco Diaz, Vicente Gonzalez, and Paul Martin bring this lawsuit to

  recover unpaid overtime wages and other damages from Defendants Cypress Energy Management

  TIR, LLC and Tulsa Inspection Resources, LLC1 (collectively “TIR”) under the Fair Labor Standards

  Act (FLSA).

            2.      TIR is an oil and gas and construction staffing company. TIR employs oilfield

  personnel to carry out its work.

            3.      Plaintiffs and the other workers like them regularly worked for TIR in excess of forty

  (40) hours each week.

            4.      But these workers never received overtime for hours worked in excess of forty (40)

  hours in a single workweek.

            5.      Instead of paying overtime as required by the FLSA, TIR improperly classified



  1Tulsa Inspection Resources, LLC and Cypress Energy Management TIR, LLC are related corporate entities, under the
  same corporate ownership, and are the business units responsible for TIR’s inspector workforce at issue in this case. See
  https://www.cypressenergy.com/tulsa-inspection-resources (Last visited December 6, 2019). Upon information and
  belief, Tulsa Inspection Resources, LLC and Cypress Energy Management TIR, LLC are jointly responsible for the
  employment classification decisions, payroll, and payroll practices at issue in this case.
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 2 of 10




  Plaintiffs and those similarly situated workers as exempt employees and paid them a daily rate with no

  overtime compensation.

          6.      This collective action seeks to recover the unpaid overtime wages and other damages

  owed to these workers.

                                     II.     JURISDICTION AND VENUE

          7.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

  because this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).

          8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

  part of the events or omissions giving rise to the claim occurred in this District and Division. TIR

  conducts substantial business operations in this District and Division and also has its corporate

  headquarters in this District and Division in Tulsa, Oklahoma.

                                             III.    THE PARTIES

          9.      Plaintiffs worked for TIR throughout the past three years as inspectors.

          10.     Throughout their employment with TIR, Plaintiffs were paid a day-rate with no

  overtime compensation.

          11.     Plaintiffs’ consents to be a party plaintiff is attached as Exhibit A, B, & C.

          12.     Plaintiffs bring this action on behalf of themselves and all other similarly situated

  workers who were paid by TIR’s day-rate system. TIR paid each of these workers a flat amount for

  each day worked and failed to pay them overtime for all hours that they worked in excess of 40 hours

  in a workweek in accordance with the FLSA.

          13.     The class of similarly situated employees or putative class members sought to be

  certified is defined as follows:

                  All inspectors employed by TIR who were paid a day rate with
                  no overtime in the past three (3) years. (“Putative Class Members”).

          14.     Defendant Cypress Energy Management TIR, LLC is a limited liability company doing
                                                      2
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 3 of 10




  business throughout the United States. Cypress Energy Management TIR, LLC may be served through

  its registered agent, The Corporation Company, 1833 S. Morgan Rd., Oklahoma City, Oklahoma

  73128.

           15.    Defendant Tulsa Inspection Resources, LLC is a limited liability company doing

  business throughout the United States. Tulsa Inspection Resources, LLC may be served through its

  registered agent, The Corporation Company, 1833 S. Morgan Rd., Oklahoma City, Oklahoma 73128.

                                    IV.      COVERAGE UNDER THE FLSA

           16.    At all times hereinafter mentioned, TIR has been an employer within the meaning of

  the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

           17.    At all times hereinafter mentioned, TIR has been part of an TIR within the meaning

  of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

           18.    At all times hereinafter mentioned, TIR has been part of an TIR engaged in commerce

  or in the production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29

  U.S.C. § 203(s)(1), in that said TIR has and has had employees engaged in commerce or in the

  production of goods for commerce, or employees handling, selling, or otherwise working on goods

  or materials that have been moved in or produced for commerce - such as oilfield equipment, hand

  tools, computers, automobiles, and cell phones - by any person and in that said TIR has had and has

  an annual gross volume of sales made or business done of not less than $1,000,000 (exclusive of excise

  taxes at the retail level which are separately stated).

           19.    At all times hereinafter mentioned, Plaintiffs and the Putative Class Members were

  engaged in commerce or in the production of goods for commerce.

           20.    As will be shown through this litigation, TIR treated Plaintiffs the Putative Class

  Members as employees and uniformly dictated the pay practices Plaintiffs and its other employees

  were subjected to.


                                                        3
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 4 of 10




                                                      V.       FACTS

             21.      TIR “is a full spectrum provider of Pipeline Inspection, Pipeline Integrity services and

  Non-Destructive Examination services to the oil and gas industry.”2 To complete their business

  objectives, TIR hires personnel (like Plaintiffs) to perform work.

             22.      Many of these individuals worked for TIR on a day-rate basis and make up the

  proposed Putative Class. While exact job titles and job duties may differ, these employees are subjected

  to the same or similar illegal pay practices for similar work.

             23.      TIR paid the Putative Class Members a flat sum for each day worked, regardless of the

  number of hours that they worked that day (or in that workweek) and failed to provide them with

  overtime pay for hours that they worked in excess of forty (40) hours in a workweek.

             24.      Plaintiffs normally worked 10 to 12 hours a day.

             25.      Plaintiffs was never guaranteed a salary when he worked for TIR.

             26.      Plaintiffs was required to report the days worked to TIR, not the hours he worked.

             27.      The work Plaintiffs performed was an essential and integral part of TIR’s core

  business.

             28.      During Plaintiffs’ employment with TIR, it and/or the company TIR contracted with

  exercised control over all aspects of his job.

             29.      TIR and/or the company it contracted with controlled all the significant or meaningful

  aspects of the job duties performed by Plaintiffs.




  2
      https://www.cyressenegery.com/tulsa-inspection-resources (last visited December 6, 2019).

                                                              4
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 5 of 10




            30.   Even though Plaintiffs often worked away from TIR’s offices, TIR still controlled all

  aspects of Plaintiffs’ job activities by enforcing mandatory compliance with TIR’s and/or its client’s

  policies and procedures.

            31.   TIR directly determined Plaintiffs’ rates of pay, their work schedule, and prohibited

  them from working other jobs for other companies while he was working on jobs for TIR.

            32.   Very little skill, training, or initiative was required of Plaintiffs to perform their job

  duties.

            33.   Indeed, the daily and weekly activities of the Putative Class Members were routine and

  largely governed by standardized plans, procedures, and checklists created by TIR and/or its clients.

  Virtually every job function was pre-determined by TIR and/or its clients, including the tools to use

  at a job site, the data to compile, the schedule of work, and related work duties. The Putative Class

  Members were prohibited from varying their job duties outside of the pre-determined parameters.

            34.   Moreover, the job functions of the Putative Class Members were primarily manual

  labor/technical in nature, requiring no college education or other advanced degree.

            35.   Plaintiffs and the Putative Class Members did not have any supervisory or

  management duties.

            36.   All of the Putative Class Members perform the same or similar job duties and are

  subjected to the same or similar policies and procedures which dictate the day-to-day activities

  performed by each person.

            37.   The Putative Class Members also worked similar hours and were denied overtime as a

  result of the same illegal pay practice.

            38.   TIR’s policy of failing to pay its employees, including Plaintiffs, overtime violates the

  FLSA because these workers are performing non-exempt job duties.




                                                      5
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 6 of 10




          39.     It is undisputed that Plaintiffs and the Putative Class Members are performing manual

  labor and working long hours out in the field.

          40.     TIR’s day-rate system violates the FLSA because Plaintiffs and those similarly situated

  did not receive any overtime pay for hours worked over 40 hours each week.

                                         VI.       FLSA VIOLATIONS

          41.     As set forth herein, TIR has violated, and is violating, Section 7 of the FLSA, 29 U.S.C.

  § 207, by employing employees in an TIR engaged in commerce or in the production of goods for

  commerce within the meaning of the FLSA for workweeks longer than forty (40) hours without

  compensating such employees for their employment in excess of forty (40) hours per week at rates no

  less than 1 and ½ times the regular rates for which they were employed.

          42.     TIR knowingly, willfully, or in reckless disregard carried out this illegal pattern or

  practice of failing to pay the Putative Class Members overtime compensation. TIR’s failure to pay

  overtime compensation to these employees was neither reasonable, nor was the decision not to pay

  overtime made in good faith.

          43.     Accordingly, Plaintiffs and the Putative Class Members are entitled to overtime wages

  under the FLSA in an amount equal to 1 and ½ times their rate of pay, plus liquidated damages,

  attorney’s fees and costs.

                                 VII.   COLLECTIVE ACTION ALLEGATIONS

          44.     Plaintiffs incorporate all previous paragraphs and alleges that the illegal pay practices

  TIR imposed on Plaintiffs were likewise imposed on the Putative Class Members.

          45.     Numerous individuals were victimized by this pattern, practice, and policy which is in

  willful violation of the FLSA.




                                                     6
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 7 of 10




          46.     Numerous other individuals who worked with Plaintiffs indicated they were paid in

  the same manner, performed similar work, and were not properly compensated for all hours worked

  as required by state and federal wage laws.

          47.     Based on their experiences and tenure with TIR, Plaintiffs are aware that TIR’s illegal

  practices were imposed on the Putative Class Members.

          48.     The Putative Class Members were all not afforded the overtime compensation when

  they worked in excess of forty (40) hours per week.

          49.     TIR’s failure to pay wages and overtime compensation at the rates required by state

  and/or federal law result from generally applicable, systematic policies, and practices which are not

  dependent on the personal circumstances of the Putative Class Members.

          50.     Plaintiffs’ experiences are therefore typical of the experiences of the Putative Class

  Members.

          51.     The specific job titles or precise job locations of the Putative Class Members do not

  prevent class or collective treatment.

          52.     Plaintiffs have no interests contrary to, or in conflict with, the Putative Class Members.

  Like each Putative Class Member, Plaintiffs have an interest in obtaining the unpaid overtime wages

  owed to them under state and/or federal law.

          53.     A class and collective action, such as the instant one, is superior to other available

  means for fair and efficient adjudication of the lawsuit.

          54.     Absent this action, many Putative Class Members likely will not obtain redress of their

  injuries and TIR will reap the unjust benefits of violating the FLSA and applicable state labor laws.

          55.     Furthermore, even if some of the Putative Class Members could afford individual

  litigation against TIR, it would be unduly burdensome to the judicial system.




                                                      7
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 8 of 10




            56.   Concentrating the litigation in one forum will promote judicial economy and parity

  among the claims of individual members of the classes and provide for judicial consistency.

            57.   The questions of law and fact common to the Putative Class Members predominate

  over any questions affecting solely the individual members. Among the common questions of law and

  fact are:

                  a.      Whether TIR employed the Putative Class Members within the meaning of the

                          applicable state and federal statutes, including the FLSA;

                  b.      Whether TIR’s day rate pay practice meets the salary-basis test;

                  c.      Whether TIR’s decision to not pay time and a half for overtime to the Putative

                          Class Members was made in good faith;

                  d.      Whether TIR’s violation of the FLSA was willful; and

                  e.      Whether TIR’s illegal pay practices were applied uniformly across the nation

                          to all Putative Class Members.

            58.   Plaintiffs’ claims are typical of the claims of the Putative Class Members. Plaintiffs and

  the Putative Class Members sustained damages arising out of TIR’s illegal and uniform employment

  policy.

            59.   Plaintiffs know of no difficulty that will be encountered in the management of this

  litigation that would preclude its ability to go forward as a collective action.

            60.   Although the issue of damages may be somewhat individual in character, there is no

  detraction from the common nucleus of liability facts. Therefore, this issue does not preclude

  collective action treatment.

                                               JURY DEMAND

            1.    Plaintiffs demand a trial by jury.

                                              RELIEF SOUGHT


                                                       8
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 9 of 10




        2.        WHEREFORE, Plaintiffs pray for judgment against TIR as follows:

             a.      An Order designating the Putative FLSA Class as a collective action and permitting

                     the issuance of a notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

                     individuals with instructions to permit them to assert timely FLSA claims in this

                     action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b);

             b.      For an Order appointing Plaintiffs and their counsel to represent the interests of

                     the FLSA Class;

             c.      For an Order finding TIR liable to Plaintiffs and the Potential Class Members for

                     unpaid overtime owed under the FLSA, as well as liquidated damages in an amount

                     equal to their unpaid compensation;

             d.      For an Order awarding attorneys’ fees, costs, and pre- and post-judgment interest

                     at the highest available rates; and

                  e. For an Order granting such other and further relief as may be necessary and

                     appropriate.

                                                 Respectfully submitted,

                                                 By: /s/ Michael A. Josephson
                                                        Michael A. Josephson
                                                        State Bar No. 24014780
                                                        mjosephson@mybackwages.com
                                                        Andrew W. Dunlap
                                                        State Bar No. 24078444
                                                        adunlap@mybackwages.com
                                                        JOSEPHSON DUNLAP
                                                        11 Greenway Plaza, Suite 3050
                                                        Houston, Texas 77046
                                                        713-352-1100 – Telephone
                                                        713-352-3300 – Facsimile

                                                           Richard J. (Rex) Burch
                                                           Texas Bar No. 24001807
                                                           BRUCKNER BURCH, P.L.L.C.
                                                           8 Greenway Plaza, Suite 1500

                                                     9
Case 4:19-cv-00668-JED-FHM Document 2 Filed in USDC ND/OK on 12/09/19 Page 10 of 10




                                             Houston, Texas 77046
                                             713-877-8788 – Telephone
                                             713-877-8065 – Facsimile
                                             rburch@brucknerburch.com

                                             Michael Burrage, OBA No. 1350
                                             WHITTEN BURRAGE
                                             512 N. Broadway, Suite 300
                                             Oklahoma City, OK 73102
                                             Telephone: (405) 516-7800
                                             Facsimile: (405) 516-7859
                                             mburrage@whittenburragelaw.com

                                      ATTORNEYS IN CHARGE FOR PLAINTIFFS




                                        10
